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 8                 UNITED STATES DISTRICT COURT
 9           FOR THE EASTERN DISTRICT OF CALIFORNIA
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     RENAISSANCE RIBBONS,               )   Case No. 07CV 1271 LEW-DAD
11   Inc., a California                 )
     Corporation,                       )   ORDER VACATING STIPULATED
12                                      )   JUDGMENT
                                        )
13                                      )   ORDER VACATING MOTION FOR
                Plaintiff,              )   ASSIGNMENT OF RIGHTS,
14                                      )   RESTRAINING ORDER AND
     v.                                 )   TURNOVER ORDER
15                                      )
     HADLEY POLLET, LLC., a             )
16   Massachussetts Limited             )
     Liability Company,                 )
17                                      )
     AND DOES 1 through 10,             )
18   AND EACH OF THEM,                  )
     INCLUSIVE                          )
19                                      )
                Defendants.             )
20                                      )

21
          On February 27, 2008 this Court erroneously granted
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     Plaintiff’s Motion for Entry of Stipulated Judgment.
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     Review of the record demonstrates that while Plaintiff
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     provided the Court with what purports to be a
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     settlement agreement, agreeing to a stipulated judgment
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     in the event of a breach, Defendants answered the
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     Complaint and denied liability.
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 1       Therefore, a Stipulated Judgment is not the correct
 2   mechanism with which to resolve this case at this time.
 3   Moreover, Defendants’ counsel was removed as counsel of
 4   record on December 20, 2007 thus leaving the Company
 5   unrepresented.
 6       The Court therefore VACATES the STIPULATED JUDGMENT
 7   as well as Plaintiff’s Motion for Assignment of Rights,
 8   Restraining Order and Turnover Order.
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10   IT IS SO ORDERED.
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                             HONORABLE RONALD S.W. LEW
14
                          Senior, U.S. District Court Judge
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     Dated: April 22, 2008
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